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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


SHAUNICE PATTILLO,                                      §
                                                        §
     Plaintiff,                                         §
                                                        §
v.                                                      §    CIVIL ACTION NO. 3:18-CV-1194-B
                                                        §
ARBOR E&T, LLC, d/b/a RESCARE                           §
WORKFORCE SERVICES,                                     §
                                                        §
     Defendant.                                         §

                             MEMORANDUM OPINION AND ORDER

          Before the Court is Defendant Arbor E&T, LLC’s Motion for Summary Judgment (Doc. 19)

on all of Plaintiff’s claims. Because—as outlined below—the Court finds that a genuine issue of

material fact exists as to whether the parties intended that a previous settlement agreement covered

these claims, the Court DENIES Arbor’s Motion for Summary Judgment.

                                                        I.

                                              BACKGROUND

          Plaintiff invokes this Court’s federal question and supplemental jurisdiction based on her

alleged Title VII and state-law claims. Doc. 1, Compl., ¶¶ 3, 25–45 (alleging retaliation, hostile work

environment, constructive discharge, cat’s paw liability, and wrongful discharge1). Plaintiff worked

for Arbor as a Talent Development Specialist from May 2012 through November 2014, during which



          1
          The Court notes that although Plaintiff states that she is alleging both Title VII and state-law
claims, the state-law claims are not specifically identified, and all counts have the potential to be viable under
Title VII. See id. The parties do not belabor this point, and given the findings of the Court, an exact
distinction here is not necessary.

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time the alleged discrimination and retaliation took place. Id. ¶¶ 2, 9. Specifically, she alleges that

Arbor and its employees discriminated against her “because she was a woman who had recently given

birth and exercised her rights under the Fair Labor Standards Act related to lactation,” as well as

engaged in other protected activities. Id. ¶¶ 2, 43. The majority of the alleged discrimination took

place in the later half of 2014, after Plaintiff returned from her Family Medical Leave Act (FMLA)

leave in September. See id. ¶¶ 11–23.

          In response to this perceived discrimination, Plaintiff lodged complaints with the both the

Department of Labor–Wage and Hour Division (DOL–WHD) and the Equal Employment

Opportunity Commission (EEOC). Plaintiff filed her charge with the DOL–WHD on or about

October 16, 2014. Doc. 23, Pl.’s Resp. App’x, 1 (Pl.’s Decl., ¶ 3). While the DOL–WHD

investigation was pending, Plaintiff filed her charge with the EEOC on January 20, 2015. Id. at 2

(Pl.’s Decl., ¶ 4).

          On September 4, 2015, the parties entered into a settlement agreement facilitated by the

DOL–WHD.2 Id. at 6. Plaintiff signed both the settlement agreement and a form acknowledging

receipt of the settlement monies (DOL Form WH-58, the “receipt form”) on that date. Id. at 4–6.

Both documents described the claims that Plaintiff was settling. The Settlement Agreement itself

stated:

          Complainant agrees that acceptance of this Agreement constitutes settlement in full
          of any and all claims against Employer arising out of Complainant’s complaint filed with the
          Wage and Hour Division on October 16, 2014 and will result in closure of the
          investigation.


          2
          The Court notes that the signatures from Arbor and the DOL–WHD are dated August 25, 2015,
but the final signature, by Plaintiff, is dated September 4, 2015.


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Doc. 23, Pl.’s Resp. App’x, 6 (emphasis added). Meanwhile, the receipt form contained more narrow

language—that in exchange for back wages and liquidated damages, Plaintiff gave up her right to

bring suit under Section 16(b) of the FLSA or Section 107 of the FMLA:

        Notice to Employee: Your acceptance of this payment of wages and/or other
        compensation due under the Fair Labor Standards Act (FLSA) or Family Medical
        Leave Act (FMLA), based on the findings of the [DOL–WHD] means that you have
        given up the right you have to bring suit on your own behalf for the payment of such
        unpaid minimum wages or unpaid overtime compensation for the period of time
        [April 6, 2013 to April 4, 2015] and an equal amount in liquidated damages, plus
        attorney’s fees and court costs under Section 16(b) of the FLSA or Section 107 of the
        FMLA. Generally, a suit for unpaid wages or other compensation, including
        liquidated damages, must be filed within two years of a violation of the FLSA or
        FMLA. Do not sign this receipt unless you have actually received this payment in the
        amount indicated above.

Id. at 4 (emphasis added). Although both Plaintiff and Arbor were aware of Plaintiff’s still-pending

EEOC charge, neither the settlement agreement nor the receipt form acknowledged that outstanding

investigation. See id. at 2 ¶ 5; 4–6.

        Indeed it was not until two years after the DOL–WHD agreement was reached that the

EEOC terminated its processing of Plaintiff’s charge and Plaintiff received her Notice of Right to Sue

on her Title VII claims. Doc. 23, Pl.’s Resp. App’x, 9. She filed her claims in this Court within the

requisite 90-day window, on May 10, 2018. See Doc. 1, Compl.

        Arbor then filed a Motion for Summary Judgment on October 9, 2018 with brief and

appendix in support (Docs. 19, 20 & 21). Instead of addressing the elements of Plaintiff’s claims

directly, Arbor moved for summary judgment on the affirmative defenses of accord and satisfaction,

release, and waiver, citing predominately Texas law. Doc. 20, Def.’s Br. Summ. J., 10–14. Plaintiff

responded that whether a Title VII release was properly obtained is actually a matter of federal, not



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state law, and the prior settlement agreement did not waive her Title VII claims because, inter alia,

(1) the DOL did not have jurisdiction over Title VII claims and therefore could not have intended

for her to have waived these claims; (2) a waiver of her Title VII claims would be impermissibly

“prospective”; (3) the receipt form limited the waiver of her claims to the FLSA and FMLA; (4) and

neither signed document mentioned Title VII. Doc. 22, Pl.’s Resp., 10–12. She too attached an

appendix (Doc. 23).

       Arbor replied with federal caselaw to support its arguments on release and waiver: that Title

VII need not be explicitly mentioned in a settlement agreement for Plaintiff’s waiver of such claims

to be valid. Doc. 24, Def.’s Reply, 2. While Arbor admits that the totality of the circumstances must

be considered, Arbor objects to the use of certain portions of Plaintiff’s Declaration, in which she

describes her understanding of the settlement, and which was attached as evidence to Plaintiff’s

Response. Id. at 2–3. But Arbor does not rebut Plaintiff’s arguments that the receipt form’s language

is relevant in interpreting the settlement agreement. See id.

       As the issues are now fully briefed, the Court now addresses Arbor’s Motion.

                                                 II.

                                      LEGAL STANDARD

       Summary judgment is appropriate where the pleadings and record evidence show no genuine

issue of material fact exists and that the movant is entitled to summary judgment as a matter of law.

Fed R. Civ. P. 56(a); Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994). Only disputes

about material facts preclude a grant of summary judgment, and “the substantive law will identify

which facts are material.” Anderson v. Liberty Lobby, 477 U.S. 242, 248 (1986). “A fact is material



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only if its resolution would affect the outcome of the action, and an issue is genuine only if the

evidence is sufficient for a reasonable jury to return a verdict for the nonmovant.” Johnson v.

Nationstar Mortgage, LLC, 2017 WL 1196214, at *2 (S.D. Tex. Mar. 31, 2017) (quoting Wiley v.

State Farm Fire and Cas. Co., 585 F.3d 206, 210 (5th Cir. 2009) (internal quotations and alterations

omitted).

        The movant bears the initial burden of showing no genuine issue of material fact exists.

Latimer v. Smithkline & French Labs., 919 F.2d 301, 303 (5th Cir. 1990). Once the movant has met

its burden, the nonmovant must show that summary judgment is not appropriate. Little, 37 F.3d at

1075 (citing Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)). “This burden is not satisfied with

‘some metaphysical doubt as to material facts,’ . . . by ‘conclusory allegations,’. . . by ‘unsubstantiated

assertions,’ or by only a ‘scintilla’ of evidence.” Id. (quoting Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 586 (1986)). The court will not make credibility determinations, weigh the

evidence, or draw inferences, but instead confine its inquiry to facts material under the governing

legal standard. Anderson, 477 U.S. at 255. In determining whether a genuine issue exists for trial, the

court will view all of the evidence in the light most favorable to the non-movant. Matsushita, 475

U.S. at 587.

                                                    III.

                                               ANALYSIS

        As an initial matter, the Court finds Arbor’s Objections (Doc. 25) to Plaintiff’s Declaration

to be moot, as the Court does not rely on this evidence in reaching its conclusion. No other




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objections were made by either party, thus the Court applies the Rule 56 analysis to the remainder

of the evidence.

        As for the substance of Arbor’s Motion, Arbor’s affirmative defenses of accord and

satisfaction, waiver, and release are interrelated and not mutually exclusive, thus the Court addresses

them together. See 1 AM. JUR. 2D Accord and Satisfaction § 3 (2019) (“Although release and accord

and satisfaction are distinct defenses, an agreement may constitute both a release and an accord and

satisfaction, either of which may bar future claims.”).

A.      Release and Waiver

        The Fifth Circuit has held that “[t]he interpretation and validity of a release of claims under

Title VII is governed by federal law.” Smith v. Amedisys Inc., 298 F.3d 434, 441 (5th Cir. 2002). This

Circuit has used the terms waiver and release interchangeably in the Title VII context. See id. For

waiver and release, Arbor must show that waiver was a “knowing and voluntary” act, as determined

by a “totality of the circumstances.” See id. “In determining whether a release was knowingly and

voluntarily executed, federal law requires that a valid waiver is not to be ‘lightly inferred.’” Rogers v.

Gen. Elec. Co., 781 F.2d 452, 455 (5th Cir. 1986) (quoting Watkins v. Scott Paper Co., 530 F.2d 1159,

1172 (5th Cir. 1976)). First, “[t]he employer bears the burden of establishing that its former

employee ‘signed a release that addresses the claims at issue, received adequate consideration, and

breached the release.’” Smith, 298 F.3d at 441 (quoting Williams v. Phillips Petroleum Co., 23 F.3d

930, 935 (5th Cir. 1994)). Then the burden shifts to the employee to “demonstrat[e] that the

release was invalid because of fraud, duress, material mistake, or some other defense.” Id. (alteration




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in original) (quoting Williams, 23 F.3d at 935). “To determine whether the former employee has met

the burden of establishing a defense to the validity of the release,” courts consider:

          (1) the plaintiff’s education and business experience, (2) the amount of time the
          plaintiff had possession of or access to the agreement before signing it, (3) the role of
          [the] plaintiff in deciding the terms of the agreement, (4) the clarity of the
          agreement, (5) whether the plaintiff was represented by or consulted with an
          attorney, and (6) whether consideration given in exchange for the waiver exceeds
          employee benefits to which the employee was already entitled by contract or law.

Id. (alterations in original) (quoting O’Hare v. Global Nat. Res., 898 F.2d 1015, 1017 (5th Cir.

1990)).

          Plaintiff argues that Arbor has not met its initial burden that Plaintiff “‘signed a release that

addresses the claims at issue, received adequate consideration, and breached the release.’” Id.

(quoting Williams, 23 F.3d at 935). She specifically disputes whether the release addressed her Title

VII claims, which were not explicitly mentioned in either document. The Court notes, however, that

multiple circuit courts—including the Fifth Circuit—have held that “[t]here is no obligation . . .

under Title VII or federal common law, that a release must specify Title VII or federal causes of

action to constitute a valid release of a Title VII claim.” Id. at 443 (collecting cases). In Smith, for

example, the Fifth Circuit upheld the trial court’s holding that the sentence in the release—“You

agree to release [Employer] of any and all employment related claims.”—unambiguously covered the

plaintiff’s Title VII claim. Id. at 441–42. Agreeing that the employer had met its initial burden, the

Circuit then reviewed the O’Hare factors and agreed that the former employee had not met her

burden to establish a defense to the validity of the release. Id. at 443–44.

          Here, Plaintiff does not address the O’Hare factors. Thus, for Plaintiff to survive summary

judgment, the Court must find that Arbor has failed in its burden to show that the release addressed


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the claims at issue, Plaintiff received adequate consideration, and Plaintiff breached the release. For

the reasons that follow, the Court finds that Arbor has failed to show the release covered her Title

VII claims.

        Here, Plaintiff signed two documents on the same day: a settlement agreement and a receipt

form. The Court first considers the settlement agreement. The settlement agreement’s release, read

as a whole, states: “Complainant agrees that acceptance of this Agreement constitutes settlement

in full of any and all claims against Employer arising out of Complainant’s complaint filed with the Wage

and Hour Division[.]” Doc. 23, Pl.’s Resp. App’x, 6 (emphasis added). Arbor argues that “arising out

of” is broad language and encompasses the claims Plaintiff now brings. Doc. 20, Def.’s Br. Summ. J.,

12–13 (citing, inter alia, Utica Nat. Ins. Co. v. Am. Indem. Co., 141 S.W.3d 198, 203 (Tex. 2004)).

But even Utica states that “arising out of” requires but-for causation.3 Utica, 141 S.W.3d at 203. And

although Plaintiff’s Title VII claim would not exist but for her employment with Arbor, but-for

causation does not exist between Plaintiff’s Title VII claims and her complaint with the Wage and

Hour Division. See Smith, 298 F.3d at 441–42 (holding a release of “any and all employment related

claims” covered Title VII claims). Instead the release would only apply to claims that the Wage and

Hour Division directly oversees—not Plaintiff’s Title VII claims, or state-law claims.

        Even if the agreement was subject to more than one interpretation and thus ambiguous, the

Court could look to the receipt form to determine the scope of the release. Indeed Plaintiff suggests


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          Although the interpretation of a Title VII release is governed by federal law, in an unpublished case
the Fifth Circuit applied Texas rules of construction to an FLSA release. See Johnson v. Manpower Prof’l Servs.,
Inc., 442 F. App’x 977, 983 (5th Cir. 2011). But even federal courts interpreting federal law look to state law
in defining “arising out of.” See, e.g., Humphries v. Various Fed. USINS Emps., 164 F.3d 936, 942–44 (5th Cir.
1999) (compiling cases that include state-law claims). Thus the Court finds Texas law persuasive.


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this. Doc. 22, Pl.’s Resp., 11–12. While Arbor does not explicitly object to—or for that matter,

address—the use of the receipt form as an aid to interpretation of the settlement agreement, the

Court first considers whether the parol evidence rule might bar its consideration.4 “When parties

have concluded a valid integrated agreement with respect to a particular subject matter, the rule

precludes the enforcement of inconsistent prior or contemporaneous agreements.” See F.D.I.C. v.

Wallace, 975 F.2d 227, 229 (5th Cir. 1992) (quoting Hubacek v. Ennis State Bank, 317 S.W.2d 30,

32 (Tex. 1958)).

        First, the settlement agreement did not include a recital that it contained the entire

agreement of the parties, nor a similarly worded merger provision. See Doc. 23, Pl.’s Resp. App’x,

5–6. While the absence of such a clause is not dispositive, the parol evidence rule is particularly

applicable when such clause is included. Smith v. Smith, 794 S.W.2d 823, 827 (Tex. App.—Dallas,

1990). Second, the parol evidence rule does not apply to a document that is “fairly susceptible of

more than one legal meaning[.]” Sun Oil Co. (Del.) v. Madeley, 626 S.W.2d 726, 732 (Tex. 1981)

(quoting Lewis v. East Tex. Fin. Co., 146 S.W.2d 977, 980 (Tex. 1941)). Finally, logic suggests that

the receipt form was mostly likely signed after the settlement agreement, therefore the parol evidence

rule—which bars only prior or contemporaneous agreements—would not preclude the Court from




        4
           Again, while a non-binding Fifth Circuit case considered Texas law in the interpretation of an
employment release, the general rule is that federal law applies. Indeed, when addressing the issue of the parol
evidence rule’s applicability to an Age Discrimination in Employment Act release, a sister district court
convincingly argued that unless the statute particularly incorporates the rule, “neither state nor federal parol
evidence rules prevent courts from considering extrinsic evidence” “when considering the validity of waivers
of federal employment law claims.” Sims v. Hous. Auth. of City of El Paso, 2011 WL 3862256, at *3–4 (W.D.
Tex. Aug. 31, 2011) (reviewing case law across the country for guidance). But out of an abundance of
caution, the Court considers the parol evidence rule.


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considering the form. This is also the interpretation that views the facts in the light most favorable

to the non-movant, as is required at summary judgment.

        And the receipt form only confirms this Court’s interpretation of the agreement. It explicitly

identifies only Plaintiff’s FLSA or FMLA claims as being waived: “you have given up the right you

have to bring suit . . . under Section 16(b) of the FLSA or Section 107 of the FMLA.” Doc. 23, Pl.’s

Resp. App’x, 4. Thus, there is at least a fact issue as to whether Plaintiff waived her current claims

by signing the settlement agreement.

        In addition, both parties knew the DOL-WHD has jurisdiction over FLSA claims, while the

EEOC reviews Title VII claims.5 Both parties also knew that Plaintiff had contemporaneously filed

a complaint with the EEOC, which was to conduct its own investigation under separate laws. She

was not required to retract her EEOC complaint as part of the DOL–WHD dispute resolution. And

this is not a situation in which the relief she could recover under Title VII would be identical to that

under the FLSA—under the settlement she received back wages and liquidated damages, but under

Title VII she could also be eligible to receive compensatory damages and front pay. See Zamora v. City

of Houston, 798 F.3d 326, 338 (5th Cir. 2015) (upholding the jury’s award on past compensatory

damages in a Title VII case based on evidence of mental anguish and past reputational harm and

remanding for the district court reconsider the award for damages based on future reputational




        5
           To be clear, in referring to the departments’ jurisdictions, the Court is not opining on whether the
DOL-WHD could or could not oversee a release of claims beyond the FLSA or FMLA. Such a holding is not
necessary to the decision here. Instead, the Court simply holds that the language in the release Plaintiff signed
is insufficient to bar her current claims at the summary-judgement stage.


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harm); Shirley v. Chrysler First, Inc., 970 F.2d 39, 44–45 (5th Cir. 1992) (affirming an award of front

pay under Title VII).

         As for the amount of compensation being an indicator that the parties intended that Plaintiff

release all claims, including Title VII, Arbor provides no information—such as Plaintiff’s strength

of Title VII claims, or Arbor’s potential liability—on which this Court can accurately assess that

variable. See, e.g., Doc. 20, Def.’s Br. Summ. J., ¶ 12; Doc. 24, Def.’s Reply, ¶ 5.

         Given the evidence before the Court, and looking at the totality of the circumstances, the

Court finds that Arbor has not met its initial burden. Waivers must be signed with full knowledge

of the bargain being struck, and here, the Court is unable to conclude that Plaintiff understood that

the waiver encompassed more than just her FLSA claims. See Cox v. Allied Chem. Corp., 538 F.2d

1094, 1098 n.5 (5th Cir. 1976). The plain language of the receipt form, which Plaintiff signed the

same day as the agreement, had Plaintiff releasing only her FLSA claims. And the settlement

agreement released claims arising out of her complaint with the department assigned to review FLSA

claims. Therefore, the Court concludes that there is at least a fact issue as to whether the release

covered Plaintiff’s current claims, and so cannot grant summary judgment against Plaintiff on these

grounds.

B.       Accord and Satisfaction

         As for accord and satisfaction’s applicability to Title VII, even though it is a common law

defense, it “has been used in other instances where federal law also controls disputes and claims.” See

AXA S.A. v. Union Pacific R. Co., 269 F. Supp. 2d 863, 865–66 (S.D. Tex. 2003) (considering the

defense in the context of a Carmack Amendment claim). And as Arbor correctly describes it, for



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accord and satisfaction Arbor must establish that the parties specifically and intentionally agreed to

settle the Title VII claims, and that the settlement was clear, full, explicit, and not susceptible to any

other interpretation. Doc. 20, Def.’s Br. Summ. J., 11 (citing Jenkins v. Henry C. Beck Co., 449

S.W.2d 454 (Tex. 1969)). In other words, “[t]he minds must meet and where resting in implication

the facts proved must irresistibly point to such conclusion.” Jenkins, 449 S.W.2d at 455.

        For similar reasons as those discussed above, the Court cannot conclude that Arbor has met

its burden to show accord and satisfaction. The settlement agreement is susceptible to an

interpretation that only FLSA claims were released. Reading the settlement agreement in context

with the receipt form, it appears that Plaintiff, if not Arbor as well, only intended her FLSA claims

be released. Thus, the facts in this case do not “irresistibly point” to the conclusion that Plaintiff

already settled her current claims.

                                                   IV.

                                           CONCLUSION

        For the aforementioned reasons, the Court holds that a genuine issue of material fact exists

as to whether Plaintiff released her current claims, either through waiver or accord and satisfaction.

As such, the Court hereby DENIES Arbor’s Motion for Summary Judgment (Doc. 19).

        SO ORDERED.

        SIGNED: April 3, 2019.



                                                _________________________________
                                                JANE J. BOYLE
                                                UNITED STATES DISTRICT JUDGE



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